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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

ERIC HANSEN                         :
          Plaintiff,                :
                                    :
            VS.                     :                     C.A. No.: 1:12-cv-10477-NMG
                                    :
RHODE ISLAND’S ONLY 24 HOUR TRUCK :
& AUTO PLAZA, INC., LANTIC ENERGY,  :
LLC a/k/a LANTIC GREEN ENERGY, BEST :
NEW ENGLAND, INC., and THOMAS       :
GOTAUCO                             :
            Defendants,             :
                                    :
and                                 :
                                    :
HEMENWAY & BARNES, LLP              :
            Party-In-Interest.      :

                                       AMENDED ORDER

       The matter having come before the Court on the 15th day of July, 2013, on Burns &

Levinson LLP’s Attorney’s Lien and the Plaintiff, Eric Hansen’s Application for Attorney’s

Fees, and after hearing thereon, it is hereby:

                          ORDERED, ADJUDGED AND DECREED

   1. Burns & Levinson LLP’s Attorney’s Lien is GRANTED;

   2. The amount of $5,000.00, plus interest (2 percent of the total Escrow Funds in the
      original amount of $250,000; one-third of the remaining amount of the Escrow Funds)
      shall be distributed from the Registry of the Court to Mr. Eric Hansen and Verrill Dana,
      LLP forthwith; and

   3. The amount of $10,000.00, plus interest (4 percent of the total Escrow Funds in the
      original amount of $250,000; two-thirds of the remaining amount of the Escrow Funds)
      shall be distributed to Burns & Levinson, LLP (“Burns & Levinson“) from the Registry
      of the Court forthwith. The funds distributed to Burns & Levinson shall be held until a
      final Order in the Receivership matter captioned as Allan M. Shine, Receiver of Drew Oil
      Corporation v. Rhode Island’s Only 24 Hour Truck & Auto Plaza, Inc. and Best New
      England, Inc., KB No. 12-1236 consolidated with W. Mark Russo, Esq., in and only in
      his capacity as Permanent Receiver for Rhode Island’s Only 24 Hour Truck & Auto
      Plaza, Inc. and Best New England, Inc. v. Lantic Energy, LLC, KB No.: 13-0061.


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    4. This Order supersedes the Order entered by the Court on July 22, 2013.


    Enter as an Order of this Court this _____ day of July, 2013.


BY ORDER:                                                      ENTER:




U.S. District Judge                                            Clerk


Submitted by:



/s/ W. Mark Russo
W. MARK RUSSO (BBO # 554047)
JOHN A. DORSEY (BBO# 679843)
Ferrucci Russo P.C.
55 Pine Street, 4th Floor
Providence, RI 02903
Tel.: (401) 455-1000
Fax: (401) 455-7778
Dated: July 29th 2013


                                      CERTIFICATE OF SERVICE

        I hereby certify that I have on this 29th day of July, 2013, electronically filed the
foregoing document with the Clerk of this Court using the CM-ECF System. The following are
CM/ECF System participants in this case eligible to receive notice of the filing of such paper(s)
electronically:

          Seth W. Brewster, Esq., (sbrewster@verrilldana.com)
          Keith E. Glidden, Esq., (kglidden@verrilldana.com)
          Robert Corrente, Esq., (rcorrente@burnslev.com)
          John A. Dorsey, Esq, (jdorsey@frlawri.com)


                                                               /s/ W. Mark Russo


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liens (final).docx


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